        Case 1:15-cr-00381-RJD-RER Document 384 Filed 01/16/19 Page 1 of 11 PageID #: 4158
AO 24SB (Rev. 02/18) Judgment in a Criminal Case
                      Sheet 1




                                        United States District Court
                                                        Eastern District ofNew York

              UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                  V.


                   VLADISLAV KHALUPSKY                                               Case Number: OR 15-381(8-1)-02 (RJD)

                                                                                     USM Number: 81356-053

                                                                                      MILDRED M. WHALEN, ESQ.
                                                                                     Defendant's Attorney
THE DEFENDANT:

□ pleaded guilty to count(s)
□ pleaded nolo contendere to count(s)
   which was accepted by the court.
0 was found guilty on count(s)          1,2,3,4 and 5        of a five count superseding indlctment(S-1).
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                           Offense Ended              Count

 18 U.S.C. 1343 & 1349             Conspiracy to commit wire fraud.                                            8/31/2015                  1(8-1)

 18U.S.C. 371                      Conspiracy to commit securities fraud and

                                   computer intrustions.                                                       8/31/2015                  2(8-1)

        The defendant is sentenced as provided in pages 2 through               11          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)
0 Count(s)        Underlying Indictment                 0 is      □ are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          1/11/2019


                                                                            s/ Raymond J. Dearie




                                                                          RAYMOND J. DEARIE                  U.8.D.J.
                                                                         Name and Title of Judge


                                                                          1/16/2019
                                                                         Date
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AO 24SB (Rev.02/18) Judgment in a Criminal Case
                      Sheet lA
                                                                           Judgment—Page   2     of     11
DEFENDANT: VLADISLAV KHALUPSKY
CASE NUMBER: OR 15-381(S-1)-02(RJD)

                                        ADDITIONAL COUNTS OF CONVICTION

Title & Section                  Nature of Offense                     Offense Ended           Count

15U.S.C. 78](b).

15U.S.C.78ff                     Securities fraud - PR Newswire Hack   8/31/2015               3(S-1)



15U.S.C. 78j(b),

15U.S.C. 78ff                    Securities fraud - Marketwired Hack   8/31/2015               4(S-1)



18 U.S.C. 1956(h)                Money laundering conspiracy.          8/31/2015               5{S-1)
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AO 24SB (Rev. 02/18) Judgment in Criminal Case
                     Sheet 2 — Imprisonment
                                                                                                       Judgment — Page      3   of   11
 DEFENDANT: VLADISLAV KHALUPSKY
 CASE NUMBER: CR 15-381(8-1)-02(RJD)

                                                            IMPRISONMENT

          The defendant is hereby committed to the custody ofthe Federal Bureau ofPrisons to be imprisoned for a total
 term of:

                F0UR(4)YEARS ON EACH COUNT,TO RUN CONCURRENTLY.




      BZl The court makes the following recommendations to the Bureau ofPrisons:

  If consistent with the Bureau of Prisons policies, practices and guidelines, the Court recommends designation to an institution
  in the New York metropolitan area for family visitation/contact reasons. The Court further recommends treatment for
  alcoholism and placement in the BOP RDAP program.

      □ The defendant is remanded to the custody of the United States Marshal.

      □ The defendant shall surrender to the United States Marshal for this district:

          □ at                                     □ a.m.       □ p.m.        on                                            .
          □ as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            [?f before 2 p.m. on       3/11/2019                          .
          □ as notified by the United States Marshal.

          □ as notified by the Probation or Pretrial Services Office.


                                                                   RETURN

Ihave executed this judgment as follows:




            Defendant delivered on                                                        to

 at                                                  , with a certified copy of this judgment.


                                                                                                    UNITED STATES MARSHAL



                                                                           By
                                                                                                 DEPUTY UNITED STATES MARSHAL
        Case 1:15-cr-00381-RJD-RER Document 384 Filed 01/16/19 Page 4 of 11 PageID #: 4161

AO 24SB (Rev. 02/18) Judgment in a Criminal Case
                        Sheet 3 — Supervised Release
                                                                                                            Judgment—Page     of       TT
DEFENDANT: VLADISLAV KHALUPSKY
CASE NUMBER: CR 15-381(S-1)-02(RJD)
                                                        SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:
     TWO YEARS ON EACH COUNT,TO RUN CONCURRENTLY.




                                                       MANDATORY CONDITIONS


1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             □ The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of fiiture substance abuse, (check ifapplicable)
4.     □    You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution, (check if applicable)
5.          You must cooperate in the collection of DNA as directed by the probation officer, (check if applicable)
6.      □   You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense, (check if applicable)
7.      □ You must participate in an approved program for domestic violence, (check ifapplicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 24SB(Rev. 02/18) Judgment in a Criminal Case
                    Sheet 3A — Supervised Release
                                                                                               Judgment—^Page        5       of         11
DEFENDANT: VLADISLAV KHALUPSKY
CASE NUMBER: OR 15-381(8-1)-02(RJD)

                                    STANDARD CONDITIONS OF SUPERVISION
As part ofyour supervised release, you must comply with the following standard conditions ofsupervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.
1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
     frame.
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission fi-om the
     court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements(such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware ofa change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week)at a lawful type ofemployment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work(such as your position or yourjob
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware ofa change or expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission ofthe
     probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose ofcausing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), Ae probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions ofthe probation officer related to the conditions ofsupervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature
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 AO 24SB(Rev.02/18) Judgment in a Criminal Case
                    Sheet 3B — Supervised Release
                                                                    Judgment—Page   6   of   11
DEFENDANT: VLADISLAV KHALUPSKY
CASE NUMBER: CR 15-381(8-1)-02(RJD)

                                   ADDITIONAL SUPERVISED RELEASE TERMS

1) ORDER OF FORFEITURE IN THE AMOUNT OF $397,281.12 AT A RATE OF 10% OF DEFENDANT'S
     MONTHLY GROSS INCOME. RATE OF PAY IS SUBJECT TO ADJUSTMENT;

2) PERIODIC FULL FINANCIAL DISCLOSURE AS AND WHEN REQUESTED BY THE COURT THROUGH THE
      PROBATION DEPARTMENT.
       Case 1:15-cr-00381-RJD-RER Document 384 Filed 01/16/19 Page 7 of 11 PageID #: 4164
 AO 24SB(Rev. 02/18) Judgment in a Criminal Case
                      Sheet 4A — Probation
                                                                                                 Judgment—Page                 of       TT

DEFENDANT: VLADISLAV KHALUPSKY
CASE NUMBER: CR 15-381(8-1)-02(RJD)

                                        STANDARD CONDITIONS OF SUPERVISION

As part of your probation, you must comply with the following standard conditions ofsupervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.
1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours ofthe time
      you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements(such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
      You must work full time (at least 30 hours per week)at a lawful type ofemployment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work(such as your position or yourjob
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware ofa change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose ofcausing bodily injury or death to another person such as nuncha^s or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instmction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions ofthe probation officer related to the conditions ofsupervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
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AO 24SB (Rev.02/18) Judgment in a Criminal Case
                    Sheet 5 — Criminal Monetary Penalties
                                                                                                    Judgment — Page       8       of       11
DEFENDANT: VLADISLAV KHALUPSKY
CASE NUMBER: OR 15-381(S-1)-02(RJD)
                             CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                 JVTA Assessment*              Fine                        Restitution
TOTALS             $ 500.00                   $                             $                           $



□ The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.


□ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified othei^se in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

Name of Payee                                                   Total Loss**             Restitution Ordered              Priority or Percentage




 TOTALS                             $                        0-00         $                         Q-QQ

 □     Restitution amount ordered pursuant to plea agreement $

 O     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in fiill before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 □     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       □ the interest requirement is waived for the         □ fine    □ restitution.
       □ the interest requirement for the         □ fine     □ restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.                                        , ,00        /.^.        •   j
 ** Findings for the total amount or losses are required under Chapters 109A, 110, 1lOA, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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AO 24SB(Rev. 02/18) Judgment in a Criminal Case
                    Sheet 5A — Criminal Monetaiy Penalties
                                                                   Judgment—Page   9   of   11
DEFENDANT: VLADISLAV KHALUPSKY
CASE NUMBER: OR 15-381(8-1)-02(RJD)

                     ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
 RESTITUTION ORDER WILL ENTER FOLLOWING A FACT FINDING HEARING BEFORE THIS COURT
 ON A DATE TO BE SCHEDULED.
      Case 1:15-cr-00381-RJD-RER Document 384 Filed 01/16/19 Page 10 of 11 PageID #: 4167
A0 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 6 — Schedule ofPayments
                                                                                                          Judgment — Page     10     of           11
DEFENDANT: VLADISLAV KHALUPSKY
CASE NUMBER: OR 15-381(S-1)-02(RJD)

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total ciiminal monetary penalties is due as follows:
A    2] Lump sum payment of$ 500.00                          due immediately, balance due
           □     not later than                               ,or
           □     in accordance with □ C,         □ D,       □ E, or         □ F below; or

B    □ Payment to begin immediately (may be combined with                DC,          □ D, or      □ F below); or

C    □ Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                    (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or
D     O Payment in equal                       (^-g-- weekly, monthly, quarterly) installments of $                         over a period of
                     (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    □ Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
       imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F    □ Special instructions regarding the payment of criminal monetary penalties;




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due dunng
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Pnsons Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



□     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




□     The defendant shall pay the cost of prosecution.

□     The defendant shall pay the following court cost(s):

□     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
     Case 1:15-cr-00381-RJD-RER Document 384 Filed 01/16/19 Page 11 of 11 PageID #: 4168
AO 245B (Rev.02/18) Judgment in a Criminal Case
                      Sheet 6B — Schedule ofPayments
                                                                          Judgment—Page   11   of   11
DEFENDANT: VLADISLAV KHALUPSKY
CASE NUMBER: OR 15-381(S-1)-02(RJD)

                                          ADDITIONAL FORFEITED PROPERTY

   ORDER OF FORFEITURE DATED 1/10/2019, ATTACHED TO JUDGMENT.
